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 7
 8
                               UNITED STATES DISTRICT COURT
 9
                              EASTERN DISTRICT OF CALIFORNIA
10
11                                               )
     UNITED STATES OF AMERICA,                   )   Case No. 2:12-CR-294-TLN
12                                               )
                         Plaintiff,              )   STIPULATION AND ORDER
13                                               )   CONTINUING STATUS CONFERENCE
14         v.                                    )   TO APRIL 28, 2016
                                                 )
15   BART VOLEN,                                 )
                                                 )
16                       Defendant.              )
17                                               )
                                                 )
18                                               )
19
           On June 12, 2014 Defendant Bart Volen pleaded guilty to three counts of the
20
     superseding indictment in the above-referenced case: 18 U.S.C. § 1349 (Conspiracy to
21
     Commit Mail and Wire Fraud); 18 U.S.C. § 1956(h) (Conspiracy to Launder Monetary
22
23   Instruments); and 26 U.S.C. § 7206(a) (Making and Subscribing to a False Tax

24   Return). A status conference to set Mr. Volen’s sentencing hearing is scheduled for
25
     April 30, 2015.
26
           Mr. Volen’s sentencing is trailing the trial of his co-defendants, Darrell Hintz and
27
28   Gregory Baker, which is set for February 29, 2016 In order that Mr. Volen may fulfill




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 1   the obligations of his plea agreement, the parties request that Mr. Volen’s case be
 2   continued to a date after the conclusion of his co-defendants’ trial.
 3
           Therefore, the parties stipulate that Mr. Volen’s case be continued to April 28,
 4
     2016 at 9:30 a.m. for status conference re setting the sentencing hearing.
 5
 6         IT IS SO STIPULATED.

 7      DATED: March 13, 2015                        /s/ Michael Beckwith
                                                     Assistant U.S. Attorney
 8
                                                     U.S. Attorney’s Office
 9
        DATED: March 13, 2015                        /s/ Laurel Headley
10                                                   Arguedas, Cassman & Headley
11                                                   Attorneys for Defendant Bart Volen

12
                                               ORDER
13
14         For the reasons stated above, the Court finds there is good cause to continue the

15   April 30, 2015 status conference to April 28, 2016 at 9:30 a.m.
16      IT IS SO ORDERED.
17
        DATED: March 18, 2015
18
19
20                                                       Troy L. Nunley
                                                         United States District Judge
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